Case 1:18-cr-00457-AMD-CLP Document 38 Filed 03/14/19 Page 1 of 1 PageID #: 311


                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF NEW YORK



      UNITED STATES OF AMERICA
                                                                 APPLICATION AND
                                                                 ORDER OF EXCLUDABLE DELAY

                                                                    Case No.

                I I           j^ir^ /.
          The United States of America and     e defendant hereby jointly request that the time period from
                              to <i/H            _be excluded from the computation ofthe time period within which

         ( ) an information or indictment must be filed, or(XW)
                  trial ofthe charges against defendant must commence. (XC)

 The parties seek the exclusion ofthe foregoing period because

          ( ) they are engaged in plea negotiations, which they believe are likely to result in a disposition ofthis
 case without trial, and they require an exclusion oftime in order to focus efforts on plea negotiations without the risk
 that they would not, despite their diligence, have reasonable time for effective preparation for trial,
                   they need additional time to prepare for trial due to the complexity of case,
         ( )                                                                                                           ■

          The defendant states that he/she has been fiilly advised by counsel of his/her rights guaranteed under the
 Sixth Amendment to the Constitution; the Speedy Trial Act of 1974, 18 U.S.C. §§ 3161-74; the plan and rules of
 this Court adopted pursuant to that Act; and Rule 50(b)ofthe Federal Rules of Criminal Procedure. The defendant
 understands that hq/rffB has a right to be tried before a jury within a specified time not counting periods excluded.



                                                                  For U.S. Attorney, E.D.N.Y.


      sel for Defendant



          The joint application of the United States of America and the defendant having been heard at a proceeding
 on the date below,the time period from |
                                        ^ j^^                             *-^1 j                   is hereby excluded in
 computing the time within which( )an information or indictment must be filed or(^-^^al must commence. The
 Court finds that this exclusion oftime serves the ends ofjustice and outweigh the interests ofthe public and the
 defendant in a speedy trial for the reasons discussed on the record and because
         ( ) given the reasonable likelihood that ongoing plea negotiations will result in a disposition ofthis case
 without trial, the exclusion oftime will allow all counsel to focus their efforts on plea negotiations without the risk
 that they would be denied the reasonable time necessary for effective preparation for trial, taking into account the
 exercise of due diligence.



          so ORDERED.


 Dated: Brooklyn, N.Y
                                                                       s/ RER
                                                                           United States Magistrate Ju
